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                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


 STEPHEN KUNTZ,

                       Plaintiff,

        v.                                              Civil Action 2:22-cv-1811
                                                        Judge Sarah D. Morrison
 THE OHIO STATE UNIVERSITY,                             Magistrate Judge Chelsey M. Vascura

                       Defendant.




                                            ORDER

       The parties reported on July 5, 2022, that they have reached a settlement in principle.

The parties are DIRECTED to file a joint written REPORT detailing the status of this case ON

OR BEFORE AUGUST 4, 2022, unless they have filed a dismissal entry in accordance with

Federal Rule of Civil Procedure 41(a)(1)(A) in the interim.


               IT IS SO ORDERED.


                                                    /s/ Chelsey M. Vascura
                                                    CHELSEY M. VASCURA
                                                    UNITED STATES MAGISTRATE JUDGE
